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                                   8                                UNITED STATES DISTRICT COURT

                                   9                               NORTHERN DISTRICT OF CALIFORNIA

                                  10                                   SAN FRANCISCO DIVISION

                                  11    BRYON U JACKSON,
                                                                                          Case No. 21-cv-08458-LB
                                  12                  Plaintiff,
Northern District of California
 United States District Court




                                  13            v.                                        CLERK'S NOTICE RESETTING
                                                                                          MOTION HEARING
                                  14    TARGET CORPORATON,
                                  15                  Defendant.

                                  16

                                  17          YOU ARE NOTIFIED THAT the motion hearing has been rescheduled to January 19,

                                  18   2023 at 9:30 a.m. before the Honorable Laurel Beeler. Responses due by 12/27/2022. Replies due

                                  19   by 1/3/2023. The previous hearing on January 5, 2023 at 9:00 a.m. VACATED. This hearing

                                  20   will be held via a Zoom webinar.

                                  21          Webinar Access: All counsel, members of the public, and media may access the webinar

                                  22   information at https://www.cand.uscourts.gov/lb.

                                  23          Zoom Webinar ID: 161 469 8626, Password: 546984

                                  24                                                  Mark B. Busby
                                                                                      Clerk, United States District Court
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                                  26   Dated: December 12, 2022
                                                                                      By: ________________________
                                  27                                                  Elaine Kabiling, Deputy Clerk to the
                                                                                      Honorable LAUREL BEELER
                                  28
                                       CLERK’S NOTICE 21-cv-08458-LB
